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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

MALIKA MITCHELL-STEWART,             §
    Plaintiff,                       §
                                     §
v.                                   §
                                     §             Civil Action No. 4:22-cv-00341
JP MORGAN CHASE & CO.                §
JP MORGAN CHASE BANK N.A.            §
TRUPTI PATEL, Individually, and      §
SHAE WELLS, Individually             §
     Defendants.                     §


           DEFENDANTS’ FED. R. CIV. P. 12(b)(6) MOTION TO DISMISS
               PLAINTIFF’S AMENDED COMPLAINT [DKT. 23]
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       Defendants JPMorgan Chase & Co. (“JPMC Holding Company”), JPMorgan Chase Bank,

N.A. (“Chase Bank”), Trupti Patel (“Ms. Patel”), individually, and Shae Wells (“Ms. Wells”),

individually (collectively the “Defendants”) hereby file this Motion to Dismiss the causes of action

set forth in Plaintiff Malika Mitchell-Stewart’s (“Plaintiff”) Amended Complaint [Dkt. 23] for

failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6). In support thereof,

Defendants state as follows:

                  I.         NATURE AND STAGE OF THE PROCEEDING

       On February 2, 2022, Plaintiff filed her Complaint with the Court setting forth two causes

of action against Defendants: (1) intentional infliction of emotional distress (“IIED”) under Texas

law; and (2) violation of 42 U.S.C. § 1981 (“Section 1981”). [See generally Dkt. 1]. Defendants

moved to dismiss Plaintiff’s Complaint on April 5, 2022. [Dkt. 21]. On April 26, 2022, Plaintiff

simultaneously filed both an Amended Complaint and a Response to Plaintiff’s aforementioned

Motion to Dismiss. [Dkts. 22, 23]. The Court subsequently denied Defendants’ Motion to Dismiss

the original Complaint. [Dkt. 24]. The parties are set for a conference with the Court on June 6,

2022 at 9:30 a.m. [Dkt. 15].

                               II.   ISSUES TO BE RULED UPON

       Defendants respectfully request that the Court rule upon the following issues, as set forth

more fully further herein:

   1. Whether the Amended Complaint’s IIED claim must be dismissed because 42 U.S.C. §
      1981 provides a method of recovery for Defendants’ allegedly tortious acts and therefore
      there is no need for IIED to “fill the gap;”

   2. Whether the Amended Complaint fails to allege facts establishing essential elements of
      Plaintiff’s IIED claim, including that she does not provide facts to establish that
      Defendants’ alleged conduct was “extreme and outrageous”, nor that she experienced
      “severe emotional distress”;
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   3. Whether Plaintiff fails to allege facts, such as a racially-charged comment or disparate
      treatment, establishing that racial animus played any role in the alleged denial by
      Defendants to provide service to Plaintiff on December 18, 2021;

   4. Whether Section 1981 provides a cause of action for gender discrimination and, if it does,
      whether Plaintiff has failed to set out any fact showing that her gender played a role in the
      alleged denial by Defendants to provide service to Plaintiff on December 18, 2021;

   5. Whether all claims against JPMC Holding Company should be dismissed, as it is merely a
      holding company and there are no specific allegations of fact in the Amended Complaint
      which would establish it is liable for any of the alleged harm to Plaintiff;

   6. Whether, under Rule 12(e), Plaintiff must replead the Amended Complaint to more
      adequately set forth the specific factual allegations as between JPMC Holding Company
      and Chase Bank; and

   7. Whether Section 1981 provides for the award of punitive damages.

                         III.    SUMMARY OF THE ARGUMENT

       In their original Motion to Dismiss (the “Motion”), Defendants set forth a number of

fundamental deficiencies in Plaintiff’s Complaint requiring dismissal of Plaintiff’s claims for

intentional infliction of emotional distress under Texas state law (“IIED”) and violations of 42

U.S.C. § 1981 (“Section 1981”). In response to the various shortcomings set forth in the Motion,

Plaintiff exercised her right to amend the Complaint as a matter of course. While Plaintiff could

have made amendments to fix the fatal issues, the Amended Complaint has done virtually nothing

to bridge the gap between her deficient claims and viable ones. The causes of action in Plaintiff’s

Amended Complaint remain as legally implausible under the standards set out in Iqbal and

Twombly as they were in her original pleading, and an added cause of action related to gender

discrimination only amplifies the grounds to dismiss this pleading.

       Having made only minimal additions regarding her IIED allegations, that claim remains

entirely pre-empted by Plaintiff’s Section 1981 claim. As Defendants provided in their original

Motion, an IIED action exists only to “fill the gap” where there is no other recognized form of

relief for tortious conduct. Plaintiff’s IIED and Section 1981 claims, however, are still based on

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the exact same set of facts, and the Amended Complaint’s overlapping allegations admit as much.

Beyond this threshold issue, the Amended Complaint still fails to establish that the alleged

behavior complained of—refusing to deposit a check and open an account—is “extreme and

outrageous.” And Plaintiff does not sufficiently establish that she experienced “severe emotional

distress,” as her allegations demonstrate only a single identifiable emotional reaction, making no

mention that she is or was unable to function in her normal life.

       As to Plaintiff’s Section 1981 claim, the Amended Complaint adds no allegations

whatsoever to attempt to plausibly allege race discrimination. As before, Plaintiff’s Section 1981

claim should be dismissed because she still fails to establish a cognizable connection between her

alleged facts and any sort of discriminatory behavior. Plaintiff states only that: (1) she is a member

of a protected class, and (2) she was denied the opportunity to deposit the Check to open an account

at Chase Bank. These two independent allegations remain insufficient to move the needle to

plausibly set forth a Section 1981 claim for racial discrimination because there are no allegations

connecting Plaintiff’s protective class as the cause of her alleged experience at the Chase Bank

branch. Instead, case law teaches that for a Section 1981 claim, Plaintiff must allege either direct

evidence to suggest that Defendants’ alleged denial of service was due to her status as a protected

class, such as a racially-charged comment to Plaintiff, or indirect or inferential evidence that non-

black persons would have been treated differently by Defendants. The Amended Complaint does

neither of those things. Requiring more from a pleading under these circumstances makes sense

when one considers that potentially counterfeit checks are presented to businesses every day across

the United States, many times in instances that can lead to the payee themselves being a victim of

fraud. Simply put, it is not enough to state a claim for violation of Section 1981 (and move into




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discovery in federal court) on the basis of allegations that merely allege a check was not accepted

and the person presenting the check is part of a protected class.

       In addition to her insufficient Section 1981 race discrimination claim, Plaintiff now

casually alleges in her Amended Complaint that she was also the subject of gender discrimination.

As an initial matter, this claim should be dismissed out of hand, as Section 1981 does not provide

any relief for gender discrimination claims and solely applies to race-based claims. But even if

gender-based claims were within the scope of Section 1981, Plaintiff’s allegations fall well short

of actionable discrimination. In an effort to allege this new, serious accusation, Plaintiff only

mentions the term “gender” in two instances throughout her Amended Complaint, and her

specifically enumerated cause of action under Section 1981 speaks entirely to racial

discrimination, including a list of elements exclusive to race, failing to even once mention gender.

This pleading tactic demonstrates Plaintiff’s fundamental misunderstanding of what is required to

plausibly state a claim for discrimination.

       Separate from the foregoing arguments regarding the insufficiency of Plaintiff’s causes of

action, the Court should also dismiss all claims against JPMC Holding Company, as it is just that

– a holding company – and there are no factual allegations set forth in the Amended Complaint

which would establish that it is liable for any of the alleged harm to Plaintiff. Despite being

provided the opportunity to delineate between JPMC Holding Company and Chase Bank in her

Amended Complaint, Plaintiff continues to inappropriately conflate the two separate entities. As

such, Plaintiff appears unable to articulate any actions giving rise to liability against JPMC Holding

Company individually. In the alternative, should the Court determine that Plaintiff’s claims against

JPMC Holding Company may proceed, Plaintiff must provide a more definite statement as to the

acts supporting liability as between Chase Bank and JPMC Holding Company.


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       Further, in the event that the Court denies Defendants’ motion to dismiss Plaintiff’s Section

1981 claim in its entirety, Defendants request the Court dismiss Plaintiffs’ unauthorized and

unsupported request for punitive damages under Section 1981, as such a request is not supported

by the statutory language.

                          IV.     ARGUMENT AND AUTHORITIES

A.     GENERAL LEGAL STANDARDS FOR A FED. R. CIV. P. 12(b)(6) MOTION

       The dismissal of a complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure is proper if it appears beyond doubt that a plaintiff cannot prove any set of facts in

support of their claim that would entitle them to relief. Fed. R. Civ. P. 12(b)(6); Conley v. Gibson,

335 U.S. 41, 45–46 (1957). While the rules allow for a “short and plain statement of the claim

showing that the pleader is entitled to relief,” (Fed. R. Civ. P. 8(a)(1)), “a pleading that offers

‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not

do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555 (2007)). To that end, “conclusory allegations or legal conclusions masquerading as factual

conclusions will not suffice to prevent a motion to dismiss.” Blackburn v. City of Marshall, 42

F.3d 925, 931 (5th Cir. 1995). And a complaint which merely offers “‘naked assertions’ devoid of

‘further factual enhancement,’” is similarly insufficient. Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 557).

       A complaint must “includ[e] factual allegations that when assumed to be true ‘raise a right

to relief above the speculative level.’” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007)

(quoting Twombly, 550 U.S. 544, 545 (2007)). Generally, “dismissal is proper if the complaint

lacks an allegation regarding a required element necessary to obtain relief.” City of Marshall, 42

F.3d at 931. To this end, where a plaintiff fails to provide “sufficient factual allegations on an

essential element of a claim,” they have not raised their claim above a speculative level and
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dismissal of the same is warranted. See Deleon v. Cantrell, No. 7:16-CV-00038-O-BP, 2017 WL

1857443, at *2 (N.D. Tex. Apr. 20, 2017), report and recommendation adopted, No. 7:16-CV-

00038-O, 2017 WL 1832061, at *1 (N.D. Tex. May 5, 2017). Further, “[a] claim for relief is

implausible on its face when ‘the well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct.’” Greater Houston Transp. Co. v. Uber Techs., Inc., No. 4:14-

0941, 2015 WL 1034254, at *4 (S.D. Tex. Mar. 10, 2015) (quoting Iqbal, 556 U.S. at 678). “The

court should not strain to find inferences favorable to the plaintiff[] or accept conclusory

allegations, unwarranted deduction, or legal conclusions.” Clearline Techs. Ltd. v. Cooper B-Line,

Inc., No. H-11-1420, 2012 WL 43366, at *3 (S.D. Tex. Jan. 9, 2012) (internal quotation marks

omitted).

B.     THE AMENDED COMPLAINT’S RELEVANT FACTUAL ALLEGATIONS

       After amending her complaint in response to Defendants’ Motion, Plaintiff’s allegations

remain largely unchanged. The facts most pertinent to Plaintiff’s IIED and Section 1981 claims

(and thus the instant motion) include:

               Plaintiff visited Chase Bank’s First Colony branch on December 18, 2021 to “open
                an account and deposit her signing bonus check.” [Dkt. 23 at p. 4 ¶ 13].

               The bank was located in a “predominantly white affluent suburb.” Id. p. 2 ¶ 2.

               Ms. Patel asked questions about the Check presented by Plaintiff and then
                attempted to verify the Check. Id. at p. 5 ¶¶ 16–17.

               Ms. Wells informed Plaintiff that the “Check was fraudulent without providing
                justification or further articulation.” Id. at p. 5 ¶ 20.

               Wells also told Plaintiff that she would not allow her to deposit the Check “because
                Wells believed [Plaintiff] was attempting to commit fraud.” Id. at p. 5 ¶ 21.

               As a result of Defendants’ supposed actions, Plaintiff experienced an “adverse
                emotional reaction” which included “crying uncontrollably.” Id. at p. 6 ¶ 25.




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               Plaintiff also alleges that she received “professional medical treatment.” Id. at p. 10
               ¶ 41.1

C.     THE MOTION TO DISMISS PLAINTIFF’S IIED CLAIMS

       1.      Plaintiff’s IIED Claim Must Be Dismissed Because It Is A “Gap Filler,” And
               Her Section 1981 Claim Covers The Allegedly Offensive Behavior.

       Under Texas law, the IIED cause of action is a “gap-filler” that is not “intended to supplant

or duplicate existing statutory or common-law remedies.” Creditwatch, Inc. v. Jackson, 157

S.W.3d 814, 816 (Tex. 2005). Therefore, IIED may be employed “for the limited purpose of

allowing recovery in those rare instances in which a defendant intentionally inflicts

severe emotional distress in a manner so unusual that the victim has no other recognized theory of

redress.” Id. Further, an IIED claim cannot be maintained if it is aimed at addressing the same type

of wrong that a statutory remedy was designed to cover. Hoffmann-LaRoche Inc. v.

Zeltwanger, 144 S.W.3d 438, 448 (Tex. 2004). Thus, “when a plaintiff alleges a claim for [IIED]

based generally on the same facts as [another] claim, the former is preempted.” Brandon v. Life

Care Ctrs. of Am., Inc., No. H-05-4013, 2006 WL 581798, at *2 (S.D. Tex. Mar. 8, 2006)

(citing Stewart v. Houston Lighting & Power Co., 998 F. Supp. 746, 757 (S.D. Tex. 1998)); see

also Womack v. FedEx Kinko's Office & Print Servs., Inc., No. 4:06-CV-3818, 2008 WL 4461993,

at *12 (S.D. Tex. Sep. 26, 2008) (“Accordingly, the Court finds that Womack may not assert an

intentional infliction of emotional distress claim as it is based on the same underlying conduct as

her Title VII claims.”). As a result, a plaintiff cannot prevail if the “gravamen of [the] complaint



1
        Plaintiff submitted an affidavit in support of her Amended Complaint. [Dkt. 23 at pp. 12–
15]. However, it bears no reference to seeking any “professional medical treatment” and the
paragraph of her Amended Complaint containing that allegation, Paragraph 41, has not been sworn
to by Plaintiff as true and correct. Id. at p. 12 (“I have read the foregoing Complaint, including the
facts stated in the Factual Background section (paragraphs 12-29), and the statements contained
therein are within my personal knowledge and are true and correct, unless otherwise qualified
herein.”) (emphasis added).
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is really another tort.” Hoffmann-LaRoche Inc., 144 S.W.3d at 447. “Even if the other remedies do

not explicitly preempt the tort, their availability leaves no gap to fill.” Williamson v. Am. Nat. Ins.

Co., 695 F. Supp. 2d 431, 471 (S.D. Tex. 2010) (citing Creditwatch, Inc., 157 S.W.3d at 816). “In

addition, ‘[a] claim for intentional infliction of emotional distress cannot be maintained when the

risk that emotional distress will result is merely incidental to the commission of some other

tort.’” Durckel v. St. Joseph Hosp, 78 S.W.3d 576, 586 (Tex. App. 2002) (quoting Standard Fruit

Vegetable Co. v. Johnson, 985 S.W.2d 62, 65 (Tex. 1998)).

       Defendants’ Motion made clear that the facts supporting Plaintiff’s IIED and Section 1981

claims are virtually identical. [Dkt. 21 at p. 6]. Despite being given the opportunity to cure this

issue in amending her complaint, Plaintiff persists with her original allegations, maintaining that

“after being denied services at the First Colony Branch, [she] went home … and had an adverse

emotional reaction over this humiliation.” [Dkt. 23 at p. 6 ¶ 25 (emphasis added)]. Her

jurisdictional allegations continue to confirm the complete overlap of factual foundation for her

claims, stating that the Court has supplemental jurisdiction over her IIED claim because her

“causes of action [] derive from the same nucleus of operative facts and are part of the same case

or controversy that give rise” to Plaintiff’s Section 1981 claim. [Dkt. 23 at p. 2 ¶ 5 (emphasis

added)]. In addition, Plaintiff alleges specifically in support of her IIED claim that Defendants

“singl[ed] her out for discriminatory treatment because she is an African American woman –

humiliating her, and lying to her preventing her from enforcing [Plaintiff’s federally-protected]

rights.” [Dkt. 23 at p. 10 ¶ 41]. In sum, Plaintiff has made no effort whatsoever—neither before

nor after amending her complaint—to confront the evident pre-emption of her IIED claim, and it

must be dismissed. See Brandon, 2006 WL 581798, at *3 (dismissing IIED claim “[b]ecause

Plaintiff's tort claim for intentional infliction of emotional distress and her Title VII claims arise


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from related factual allegations of racially motivated conduct, her intentional infliction of

emotional distress claim cannot survive.”).2

       2.      Plaintiff Also Fails To Establish Essential Elements Of Her IIED Claim.

       Under Texas law, a party seeking to recovery a claim of IIED must establish that: “(1) the

defendant acted intentionally or recklessly, (2) the defendant's conduct was extreme and

outrageous, and (3) the defendant's conduct caused the plaintiff severe emotional distress. Graham

v. JPMorgan Case Bank, Nat. Ass'n, No. 4:13-CV-1410, 2015 WL 4431199, at *14 (S.D. Tex.

July 17, 2015). Plaintiff was unable in her original Complaint to establish the essential elements

of her IIED claim, and for the reasons set forth below, still does not in her Amended Complaint

allege facts to establish that Defendants’ actions were “extreme and outrageous,” or that she

experienced “severe emotional distress.”

               a.      Defendants’ alleged actions were not “extreme and outrageous.”

       To establish that a defendant’s acts were “extreme and outrageous,” it must be shown that

the alleged behavior went “beyond all possible bounds of decency as to be regarding as atrocious

and utterly intolerable in a civilized community.” Graham, 2015 WL 4431199, at *24. However,

behavior which is “insensitive or rude, or that is comprised of ‘mere insults, indignities, threats,

annoyances, petty oppressions, and other trivialities’ is not considered extreme and outrageous.”

Payne v. Baker, No. 4:14-CV-473-A, 2014 WL 5581314, at *4 (N.D. Tex. Nov. 3, 2014) (quoting



2
        Plaintiff superficially addressed Defendants’ “gap filler” argument in her Response to
Defendants’ original Motion. [Dkt. 22 at p. 10]. However, she did not cite a single case which
establishes her IIED claim should survive dismissal. Instead, she referenced only a single case—
ostensibly borrowed from Defendants’ briefing—which expressly found that a plaintiff’s IIED
claim did not fill any gap, reversed the appellate court’s holding to the contrary, all while noting
that “except in circumstances bordering on serious criminal acts, we repeat that such acts will
rarely have merit as intentional infliction claims.” Creditwatch, Inc., 157 S.W.3d at 818. The
Amended Complaint fails to show any basis for why her IIED claim should be allowed to proceed
in the presence of her factually-identical Section 1981 claim.
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GTE SW., Inc. v. Bruce, 998 S.W.2d 605, 612 (Tex. 1999)). “Meritorious claims for [IIED] are

relatively rare precisely because most human conduct, even that which causes injury to others,

cannot be fairly characterized as extreme and outrageous.” Kroger Tex. Ltd. P’ship v. Suberu, 216

S.W.3d 788, 796 (Tex. 2006).

        Plaintiff’s amended allegations regarding Defendants’ actions remain substantively the

same: Plaintiff complains that Ms. Patel asked Plaintiff questions about the Check, attempted to

verify it, then Ms. Wells informed Plaintiff that she believed the Check to be fraudulent and, on

that basis, would not allow her to open an account. [Dkt. 23 at pp. 5 ¶¶ 16–17, 20–21]. These

allegations still fall well short of the “high bar” of establishing extreme and outrageous behavior.

See Auriti v. Wells Fargo Bank, N.A., No. 3:12-CV-334, 2013 WL 2417832, at *8 (S.D. Tex. June

3, 2013). Rather, the facts alleged by Plaintiff—which remain devoid of any direct or indirect

evidence of racial animus in the actions of Ms. Patel and Ms. Wells even after amendment—fall

short considering other IIED claims deemed insufficient to survive dismissal in this jurisdiction.

See, e.g., Mitchell v. Cmty. Health Choice Tex., Inc., No. CV H-20-0142, 2021 WL 4464188, at

*6 (S.D. Tex. Aug. 23, 2021) (finding IIED claim was not plausible where plaintiff’s factual

allegations suggested that defendant had acted in accordance with “company policies”), report and

recommendation adopted sub nom. Doe v. Cmty. Health Choice Tex., Inc., No. 4:20-CV-00142,

2021 WL 4458769 (S.D. Tex. Sep. 29, 2021); Poullard v. Gateway Buick GMC LLC, No. 3:20-

CV-2439-B, 2021 WL 2376721, at *7 (N.D. Tex. June 10, 2021) (dismissing IIED claim where

allegations required “too large an inferential leap” to determine that defendant had acted

unlawfully); Payne, 2014 WL 5581314, at *5 (dismissing IIED claim even with allegations that

defendant sent men to stay outside plaintiff’s apartment in an effort to “stalk, harass, and frighten”).




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The actions of Ms. Patel and Ms. Wells, which were the result of their review of Plaintiff’s Check,

were not “extreme” nor “outrageous.”

               b.      The Amended Complaint’s factual allegations fail to establish that
                       Plaintiff experienced “severe emotional distress.”

       The emotional distress experienced by Plaintiff to support an IIED claim must be “so

severe that no reasonable person could be expected to endure it.” GTE Southwest, Inc. v. Bruce,

998 S.W.2d 605, 618 (Tex. 1999). The distress must be “more than mere worry, disappointment,

anxiety, vexation, embarrassment, anger” as these are “not sufficient to establish severe emotional

distress.” Graham, 2015 WL 4431199, at *14. Being “unable to function in one’s normal life or

seeking treatment from a medical professional” can establish that one experienced severe

emotional distress. Lecody v. Anderson, No. 07-20-00020-CV, 2021 WL 1202348, at *7 (Tex.

App. Mar. 30, 2021, no pet.).

       Unlike most of the deficiencies in the Complaint identified by Defendants, Plaintiff has

attempted to add at least some factual enhancement to substantiate her claim of “severe emotional

distress.” Plaintiff now alleges not only that she had an “adverse emotional reaction,” but that she

“was emotionally distraught and began crying uncontrollably.” [Compare Dkt. 1 at p. 5 ¶ 23, with

Dkt. 23 at p. 6 ¶ 25]. But even “highly unpleasant mental reactions” are “insufficient to sustain a

claim of IIED.” Payne, 2014 WL 5581314, at *4. And Plaintiff does not allege that she was unable

to function as she normally had—in fact, her allegations regarding her adverse emotional reaction

appear limited to immediately after her visit to Chase Bank’s First Colony branch. [See Dkt. 23 at

p. 6 ¶ 25]. She also makes no allegation that this reaction persisted or otherwise prevented her from

going about her daily routine. And while she now states after amendment that she “received

professional medical treatment”, this is insufficient to make her claim plausible where there are no

allegations as to specific medical conditions she may have allegedly experienced. See Tex. v. Crest

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Asset Mgmt., Inc., 85 F. Supp. 2d 722, 736 (S.D. Tex. 2000) (plaintiff, who sued for IIED as a

result of national origin discrimination, “has not demonstrated that he sustained severe emotional

distress as a result of Defendants' conduct… He certainly does not contend that he is suffering

from anything approaching the possibly suicidal, manic-depressive illness and bipolar disorder

experienced by the plaintiff in Wilson or the debilitating headaches alleged by the plaintiff in

Clayton…. Texas also has not alleged that he is afflicted with post-traumatic stress syndrome, as

diagnosed in Haryanto.”). Accordingly, the Amended Complaint fails to set forth facts sufficient

to establish that Plaintiff experienced severe emotional distress.

                                        *       *        *      *

        Plaintiff has failed to set forth a cognizable claim for IIED. Her Section 1981 cause of

action is based on the same allegations and provides her a means of recovery for Defendants’

alleged action. Beyond that, Plaintiff’s factual allegations do not establish in anything more than

a conclusory manner that Defendants’ purported acts were “extreme and outrageous,” nor that

suffered “severe emotional distress” as required under Texas law. For these reasons, the Court

must dismiss Plaintiff’s IIED claim without leave to replead.3,4




3
        Plaintiff should not be afforded any opportunity to replead her IIED claim as “she cannot
assert an intentional infliction of emotional distress claim, as it is based on the same underlying
conduct as her claim for discrimination.” Hinojosa-Schroeter v. McCarthy, No. 5:19-CV-1297-
JKP-HJB, 2020 WL 5750007, at *6 (W.D. Tex. Sep. 25, 2020).
4
        Further, if the Court dismisses Plaintiff’s Section 1981 claims—as it should for the reasons
set forth more fully herein, (infra at pp. 13–19), Plaintiff’s IIED claim still must fail, as “a plaintiff
cannot assert an IIED claim merely because of her inability to prevail on another theory of relief
designed to address the gravamen of the plaintiff’s complaint.” Tiem v. First Am. Title Co., No.
20-40707, 2021 WL 4537689, at *6 (5th Cir. Oct. 4, 2021).

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D.      THE MOTION TO DISMISS PLAINTIFF’S 42 U.S.C. § 1981 CLAIMS.

        1.      The Amended Complaint Fails to Allege Facts That Plaintiff’s Race Played A
                Role In Defendants’ Treatment Of Her Check.

        To establish a violation of Section 1981, Plaintiff must show: “(1) that she is a member of

a racial minority; (2) that [the Defendants] had intent to discriminate on the basis of race; and (3)

that the discrimination concerned one or more of the activities enumerated in the statute.”

Maldonado v. FirstService Residential, Inc., No. H-20-1484, 2021 WL 2517542, at *4 (S.D. Tex.

June 18, 2021). Plaintiff does not allege any facts from which the Court can reasonably infer that

Defendants had any intent to discriminate against Plaintiff upon the basis of her race. Instead, the

Amended Complaint, like the original Complaint, presents the Court with non-interdependent

facts: Chase Bank’s alleged denial of contract to Plaintiff and her race, but nothing in the Amended

Complaint establishes that such denial had anything to do with Plaintiff’s race.

        “To allege intentional discrimination, the plaintiff must allege facts that could show the

defendant’s interference with plaintiff’s rights was racially motivated.” Maldonado, 2021 WL

2517542, at *5. In the absence of direct evidence of racial discrimination, Plaintiff must set forth

facts from which the Court could reasonably infer that Plaintiff’s race played a role in Defendants’

purported acts, which includes allegations that members of a racial majority would have been

treated differently. See id. (“Alleging facts showing that similarly situated non-minorities received

better treatment could create the necessary inference and set the predicate for establishing a

discrimination claim.”) (citing Body by Cook, Inc. v. State Farm Mut. Auto. Ins., 869 F.3d 381,

386 (5th Cir. 2017)). Plaintiff’s allegations show neither direct evidence of racial discrimination

nor facts from which the Court could infer that Defendants would have treated non-black persons

differently than Plaintiff.



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       Even after amending the Complaint, there is still no direct evidence, such as a racially-

motivated comment to Plaintiff, that racial animus played any role in Mss. Patel and Wells’ alleged

actions, namely the handling of Plaintiff’s Check and refusal to open an account in her name.

Indeed, the Amended Complaint itself makes clear that Mss. Patel and Wells were concerned not

with Plaintiff’s race, but rather the Check that she presented. To wit, Ms. Patel asked questions

about and attempted to verify the Check. [Dkt. 23 at p. 5 ¶¶ 16–17]. Seeking to protect both Chase

Bank and Plaintiff herself from the risk associated with a potentially counterfeit check, Ms. Wells

allegedly stated that she believed the Check was fraudulent and on that basis—not Plaintiff’s

race—refused Plaintiff’s request to open an account. Id. at p. 5 ¶¶ 20–21. According to the

allegations, Ms. Wells stated nothing further as to why she believed the Check to be fraudulent

(id. at p. 5 ¶ 20), and made no comment to Plaintiff about her race.

       As to indirect evidence of discrimination, there is no allegation—and indeed no facts—

supporting the inference that a non-black person would have been treated differently than Plaintiff

in the same situation. Cf. Knight v. Wells Fargo Bank NA, 459 F. Supp. 3d 1288, 1293 (N.D. Cal.

2019) (denying motion to dismiss where complaint alleged that bank treated Asian and white

customers differently than plaintiff, a black man, and that bank had “imposed a condition on

[plaintiff] during contract formation that was not imposed on its other customers”).5 Nothing in

the Amended Complaint establishes disparate treatment between black versus non-black persons



5
       It is dubious that Plaintiff would even be able to make a statement that white patrons of
Chase Bank’s First Colony branch would have been treated differently in her situation, as she
admits that she was “not a JPMorgan Chase account holder” and does not allege that she ever
frequented the bank. [Dkt. 23 at p. 4 ¶ 14]. Thus, she would have no knowledge regarding Chase
Bank First Colony branch’s practices. This stands in contrast to the plaintiff in Knight, who had
experience with the defendant bank’s processes having received service from it previously. 459 F.
Supp. 3d at 1290 (“Knight alleges he was aware of that process because he had cashed checks at
Wells Fargo in the past….”).

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in Plaintiff’s situation to support the conclusory statement that Plaintiff was discriminated against

“because of her race.” [Dkt. 23 at p. 2 ¶ 2].

       Rather, the instant case is highly similar to Mekuria v. Bank of Am., a 2011 suit brought

before the United States District Court for the District of Columbia. 883 F. Supp. 2d 10 (D.D.C.

2011). The plaintiff in Mekuria lodged a Section 1981 claim based upon the defendant bank’s

refusal to credit disputed deposits and subsequent closing of his accounts without explanation. Id.

at 13. In dismissing the Section 1981 claim, the court found that plaintiff had “failed to allege the

facts necessary to support a claim of racial discrimination in violation of § 1981,” explaining that

he had “failed to plead a single fact to suggest that the Bank or any of its employees discriminated

against him based on his race” and did not set forth “any facts to suggest that white customers of

the Bank are treated any differently.” Id. at 15. Because there was no articulable connection

between the Mekuria plaintiff’s race and the allegedly discriminatory actions, “he could just have

easily alleged he was discriminated against based on any other visible attribute, such as his age or

gender.” Id.6 The same is true here. Plaintiff alleges no racially-charged comments during her

interactions at Chase Bank, nor does she set forth anything more than speculation that her race

played any role in Mss. Patel and Wells’ handling of her Check. Thus her conclusory statements

of disparate treatment, in the absence of factual allegations to support them, are insufficient to

survive dismissal. Akyar v. TD Bank US Holding Co., No. 18-CV-379, 2018 WL 4356734, *4

(S.D.N.Y. Sep. 12, 2018) (dismissing Section 1981 claim where plaintiff failed to establish




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       Indeed, Plaintiff is now attempting to bring a gender discrimination claim upon the exact
same facts as her racial discrimination claim, but the Amended Complaint continues to lack any
comment or remark by Mss. Patel or Wells about any physical characteristic of Plaintiff. As the
Mekuria court warns, based on Plaintiff’s theory of Section 1981 claims, she could just have easily
alleged Defendants discriminated based on her age or any other physical characteristic.

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disparate treatment, as his complaint did not “contain any allegations regarding how comparators

utilized their bank accounts”).

       Plaintiff’s “case boils down to an argument that because [s]he was mistreated and because

[s]he is black, there must be some connection between the two.” Id. Such unwarranted inferences

and speculation are insufficient as a matter of law to survive scrutiny under Rule 12(b)(6), and

accordingly the Court must dismiss Plaintiff’s Section 1981 claim. See Amaya v. Ballyshear LLC,

295 F. Supp. 3d 204, 220 (E.D.N.Y. 2018) (“Naked assertions… of discrimination without any

specific factual allegation of a causal link between the defendants’ conduct and the plaintiff’s

protected characteristic are too conclusory to withstand a motion to dismiss.”).7

       2.      Section 1981 Only Provides Relief For Racial Discrimination, And Plaintiff’s
               Gender Discrimination Claim Must Be Dismissed.

       In her Amended Complaint, Plaintiff now takes the position that Defendants violated

Section 1981 by discriminating against Plaintiff based on her gender. [Dkt. 23 at p. 2 ¶ 2]. As an

initial matter, Plaintiff’s new claim has a fatal flaw: Section 1981 does not provide any relief for

alleged gender discrimination. Rather, Section 1981 only extends to incidents of alleged racial

discrimination. The statute proscribes that all persons in the United States shall have the same

rights that are “enjoyed by white citizens.” 42 U.S.C. § 1981 (emphasis added). Courts of this



7
        In her Response to Plaintiff’s Motion to Dismiss her original Complaint, Plaintiff stated
that the facts set forth by her support the “inference” that Chase’s decision to scrutinize the Check
were “racially motivated.” [Dkt. 212 at p. 12]. To support this speculative position, Plaintiff alleges
that Chase employee Janice Brooks “apologized” to her, thus asking the Court to speculate that
Ms. Brooks effectively admitted Chase’s actions were racially discriminatory. [Dkt. 22 at p. 13].
However, Plaintiff’s allegations again fail to make any connection between Plaintiff’s race and
Ms. Brooks statements, which were not racially-charged and do not show disparate treatment. And
while Plaintiff argues that she was “singled-out,” this is utterly unsupported by her factual
allegations. [Dkt. 22 at p. 13]. As set forth above, there is no factual enhancement for the
proposition that a similarly situated non-minority person would have received any different
treatment. Supra at pp. 11–14. Plaintiff’s arguments regarding the inferences that should flow from
her factual allegations are unsupported by the plain language of her own pleading.
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jurisdiction and around the country have held that gender discrimination is not actionable under

Section 1981. See, e.g., Bobo v. ITT, Continental Baking Co., 662 F.2d 340, 342 (5th Cir. 1981)

(“In the face of seemingly unambiguous statutory language, emphatic contemporaneous

statements by legislators and an unbroken tide of case law… we conclude that the district court

properly held that sex discrimination is not cognizable under [Section] 1981].”), Woolf v. Mary

Kay Inc., 176 F. Supp. 2d 642, 652 (N.D. Tex. 2001) (“Absent allegations of racial discrimination,

the complaint fails to state a claim under § 1981 and the court lacks subject matter jurisdiction.”);

see also Allen-Brown v. D.C., 54 F. Supp. 3d 35, 43 (D.D.C. 2014) (discussing and collecting

cases). Accordingly, the Court must dismiss Plaintiff’s gender discrimination claim purportedly

arising under Section 1981.

       3.      Plaintiff’s New Section 1981 Gender Discrimination Claim Also Fails To Be
               Supported By Any Direct Or Indirect Evidence of Gender-Based Action.

       Even assuming a gender discrimination claim is within the scope of Section 1981,

Plaintiff’s gender-based claim, similar to her race-based claim, lacks a factual connection between

Plaintiff’s alleged experience at the Chase Bank branch and any discriminatory behavior. In fact,

in attempting to state a gender-based claim, Plaintiff simply tacks on “and gender” after “[b]ecause

of her race… [Plaintiff] was discriminated against,” at the outset of her Amended Complaint.

[Compare Dkt. 23 at p. 2 ¶ 2, with Dkt. 1 at p. 2 ¶ 2]. Again, no evidence of direct or indirect

discrimination is provided, and nothing in the Amended Complaint gives any context to this

serious claim. It appears that Plaintiff believes that she can simply insert the words “and gender”

to state a new gender-based discrimination claim. In fact, Plaintiff’s approach to her gender

discrimination claim shows simultaneously her inability to state a claim for both race and gender

discrimination, in that it is apparent from the Amended Complaint she believes merely stating she

is part of a protected class and that she had a bad experience is sufficient to state a discrimination

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claim through speculative inference. Such an approach, however, is insufficient under applicable

law.

         Plaintiff’s allegations are simply not enough to state a claim for gender discrimination.

There has been no factual enhancement given to support a gender discrimination claim

independent of the facts Plaintiff offers to establish her racial discrimination cause of action. In

Plaintiff’s estimation, the Amended Complaint’s facts, almost entirely unchanged from those in

her original Complaint, simultaneously support both her racial and gender discrimination claims.

But there must be some thread connecting alleged acts and a gender-based discriminatory

motivation. See Mekuria, 883 F. Supp. 2d at 13. In the absence of such, Plaintiff could just as

easily say that her allegations support age, sexual preference, or any other iteration of

discrimination. The factual allegations are simply not sufficiently specific to support a claim of

gender discrimination. See id. (“Based on the facts pled in Plaintiff’s complaint, he could just have

easily alleged he was discriminated against based on any other visible attribute, such as his age or

gender.”).

                                      *       *       *       *

         Plaintiff fails to make factual allegations from which this Court could make the reasonable

inference that racial animus played a role in the alleged denial of services to Plaintiff. And because

her gender discrimination claim is based on identical facts, it too fails to bridge any logical gap

between act and discriminatory intent. Further, Section 1981 provides no method of relief

whatsoever for Plaintiff’s new claim of gender discrimination. Accordingly, the Court must

dismiss Plaintiff’s discrimination causes of action arising under Section 1981.

E.       THE MOTION TO DISMISS ALL CLAIMS AGAINST JPMC HOLDING COMPANY.

         Defendants also move under Fed. R. Civ. P. 12(b)(6) to dismiss all claims against JPMC

Holding Company, as the Amended Complaint fails to set forth a single allegation that would make
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it liable for any of the harm claimed by Plaintiff. In sum, the Amended Complaint fails to allege

that JPMC Holding Company actually did anything in this matter—it doesn’t state that JPMC

Holding Company employed Mss. Patel and Wells, nor that JPMC Holding Company owned or

operated the branch that Plaintiff visited. There is simply no factual connection between JPMC

Holding Company and the events of December 18, 2021 as described by the Amended Complaint.

And in truth, the Amended Complaint could never make such a leap, as JPMC Holding Company

is—as its name implies—simply a holding company. Its filings with the Securities and Exchange

Commission make this clear. JPMC Holding Company Form 10-K, https://jpmorganchaseco.gcs-

web.com/node/434316/html (stating JPMC Holding Company is “a bank holding company [] and

a financial holding company [] under U.S. federal law” and that it “holds the stock of JPMorgan

Chase Bank, N.A. and an intermediate holding company, JPMorgan Chase Holdings LLC”) (last

visited on May 5, 2022). This is no secret. It is announced on JPMorgan’s website. JPMorgan,

Who We Are, J.P.MORGAN.COM, https://www.jpmorganchase.com/about (stating “JPMorgan

Chase & Co. is the name of the holding company and the firm serves its customers and clients

under its Chase and JPMorgan brands.”) (last visited on May 5, 2022). Given that the Amended

Complaint does not (and cannot) reasonably set out facts from which JPMC Holding Company

could be held liable for the harm that Plaintiff claims, the Court should dismiss all claims against

JPMC Holding Company. See, e.g., Zhao v. JPMorgan Chase & Co., No. 17 CIV. 8570, 2019 WL

1173010, at *3 (S.D.N.Y. Mar. 13, 2019) (“Accordingly, the Court dismisses all claims against

the JPMC Holding Company.”); McNeal v. J.P. Morgan Chase Bank, N.A., No. 16-CV-3115, 2016

WL 6804585, at *2 (N.D. Ill. Nov. 17, 2016) (dismissing claims because “there are no allegations

tracing [plaintiff’s] injuries to [JPMC Holding Company]”); see also Ma v. CVS Pharmacy, Inc.,

No. 19-CV-3367, 2020 WL 533702, at *3 (N.D. Ill. Feb. 3, 2020) (“Defendant has offered


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evidence that CVS Health is a holding company with no employees and no involvement, direct or

indirect, in the facts underlying the case that make it a proper defendant… That warrants

dismissing CVS Health as a defendant.”), aff'd, 833 Fed. Appx. 10 (7th Cir. 2020), reh'g denied

(Nov. 12, 2020), cert. denied, 141 S. Ct. 2737 (2021); U.S. ex rel. King v. Solvay S.A., No. CIV.A.

H-06-2662, 2013 WL 5514291, at *1 (S.D. Tex. Oct. 2, 2013) (granting summary judgment in

favor of defendant holding company on all claims and noting that the “main defendant… remains

in the lawsuit”).8

        In the alternative and in the event the Court determines that either of Plaintiff’s claims

against JPMC Holding Company should survive dismissal, Defendants move under Rule 12(e)

that Plaintiff be required to amend her Amended Complaint to make a more definite statement of

the specific factual allegations as to Chase Bank and JPMC Holding Company. Fed. R. Civ. P.

12(e) (“A party may move for a more definite statement of a pleading to which a responsive

pleading is allowed but which is so vague or ambiguous that the party cannot reasonably prepare

a response.”). As currently pled, the Amended Complaint regularly uses the term “Chase,” which

comprises both Chase Bank and JPMC Holding Company. [Dkt. 23 at p. 1]. But whereas the

former entity actually operates the banking institution that Plaintiff visited as described in the

Complaint, the latter is merely a holding company of operating subsidiaries. Plaintiff has simply

lumped JPMC Holding Company and Chase Bank together for her pleading purposes making no




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         In her Response to Defendants’ Motion to Dismiss, Plaintiff provides no legal authority
supporting the proposition that a holding company can be held liable for acts incurred by
employees of one of its subsidiary companies, instead choosing to (apparently) rest her argument
on a rhetorical question. [See Dkt. 22 at pp. 13–14]. But even with knowledge of Defendants’
position on the deficiencies in her original pleading, Plaintiff’s Amended Complaint does not
allege a single fact particular to JPMC Holding Company and her Response does nothing to rectify
this failure. Plaintiff appears unable to provide any legal or factual basis to support her claims
against JPMC Holding Company.
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meaningful effort to distinguish the acts of the individual entities which would give rise to liability

for her claims. This has resulted in confusing and nonsensical allegations. For instance, Plaintiff

states that she attempted to open a bank account with “Chase” via “Chase’s banking staff,” which,

again given JPMC Holding Company’s status as a holding company, is irreconcilably confusing.

Accordingly, Defendants alternatively request that Plaintiff be required to amend her Amended

Complaint to state the specific factual allegations as between JPMC Holding Company and Chase

Bank giving rise to liability for her pending claims. See Bellard v. JP Morgan Chase Bank, N.A.,

No. G-10-124, 2010 WL 1960079, at *2 (S.D. Tex. May 14, 2010) (granting Rule 12(e) motion

and requiring plaintiff amend complaint to clarify “the specific factual allegations against each of

the defendants rather than generic global pleading ‘defendants’”).

F.     IN THE ALTERNATIVE, PLAINTIFF’S REQUEST FOR PUNITIVE DAMAGES UNDER
       SECTION 1981 MUST BE DISMISSED.

       Plaintiff has stated that Defendants are liable for punitive damages under 42 U.S.C. § 1981

“because their conduct was based on malice and/or reckless indifferent to Plaintiff’s legal rights.”

[Dkt. 23 at p. 8 ¶ 35]. In the event that Court determines that Plaintiff’s Section 1981 claim should

survive the instant motion to dismiss, there is no basis for any such relief, as Section 1981 does

not provide that a violation of the same allows for the recovery of punitive damages. See generally

42 U.S.C. § 1981. Rather, 42 U.S.C. § 1981a states that punitive damages may be awarded, but

that subsection governs only discrimination in employment actions. 42 U.S.C. § 1981a (titled

“Damages in cases of intentional discrimination in employment”); see also Williamson v. Am. Nat.

Ins. Co., 695 F. Supp. 2d 431, 443 (S.D. Tex. 2010) (stating that Section 1981a “provides a

prevailing plaintiff in an intentional employment discrimination suit … with the ability to

recover compensatory and punitive damages.”) (emphasis added); Bennett v. Calabrian Chemicals

Corp., 324 F. Supp. 2d 815, 839 (E.D. Tex. 2004) (same). The culpability standard Plaintiff

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references—“malice and/or reckless indifferen[ce]”—is restated almost verbatim from 42 U.S.C.

§ 1981a(b)(1). Id. (“A complaining party may recover punitive damages under this section… if

the complaining party demonstrates that the respondent engaged in a discriminatory practice…

with malice or with reckless indifference to the federally protected rights of an aggrieved

individual.”) (emphasis added). Accordingly, because Section 1981 does not expressly provide for

the award of punitive damages, the Court must dismiss any such request in the event that the

Section 1981 claim survives complete dismissal.

                                     V.      CONCLUSION

       For at least the reasons set forth above, Defendants respectfully request that, pursuant to

Fed. R. Civ. P. 12(b)(6), the Court dismiss Plaintiff’s claims for IIED and violations of 42 U.S.C.

§ 1981, without leave to replead. Defendants further request that JPMC Holding Company be

dismissed from this case, or alternatively Plaintiff be required to amend her Amended Complaint

to state the specific factual allegations against JPMC Holding Company and Chase Bank.

Defendants further alternatively respectfully request that the Court dismiss Plaintiff’s demand for

punitive damages under Section 1981. Defendants further respectfully request any and all other

relief, at law or at equity, to which the Court may find Defendants justly entitled.




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Dated: May 10, 2022                        Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed with the Court’s electronic
case filing (ECF) system on May 10, 2022, which issued an electronic copy of this document to
be served on all counsel of record who have appeared in this matter.

                                                     By: /s/ Mary-Olga Lovett
                                                         Mary-Olga Lovett




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